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                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   EASTERN DIVISION


SHAUNDRA H. SHAW                                JUDGMENT IN A CIVIL CASE

     Plaintiff,
v.

STATE FARM VP                                   CASE NO: 16-2717-STA-tmp
MANAGEMENT CORP.

     Defendant.



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Joint
Stipulation of Dismissal With Prejudice entered on May 1, 2017,
this cause is hereby dismissed with prejudice.




                                                APPROVED:

s/ S. Thomas Anderson
CHIEF JUDGE UNITED STATES DISTRICT COURT

DATE: 5/3/2017                                THOMAS M. GOULD
                                         Clerk of Court


                                                s/Maurice B. BRYSON

                                         (By)    Deputy Clerk
